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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA


  LESLEY HICKS,                                         )
                                                        )
                         Plaintiff,                     )
                                                        )
  v.                                                    )       Case No. 19-CV-0275-CVE-FHM
                                                        )
  DON TIMBERLAKE, BLAKE                                 )
  PARROT, JAMES THIESSEN,                               )
  JOHN DOE 1-50, and JANE                               )
  DOE 1-50.                                             )
                                                        )
                         Defendants.                    )


                                               ORDER

         Plaintiff, proceeding pro se, filed this case alleging claims under the Fair Debt Collections

  Practices Act, 15 U.S.C. § 1692 et seq., and he was granted leave to proceed without prepayment of

  costs and fees. Dkt. # 2. Plaintiff was entitled to assistance from the Court with properly serving

  defendants based on Court’s order allowing him too proceed without prepayment of costs and fees.

  The Court advised plaintiff to complete a USM-285 form for each defendant, and plaintiff returned

  the forms providing an address on East 71st Street in Tulsa, Oklahoma for each defendant. In the

  “special instructions,” plaintiff provided an alternate address at which each defendant could be

  served. The United States Marshal attempted to serve defendants at the address on East 71st Street,

  and plaintiff is advised that service of process was unsuccessful. The remarks on the return of

  service forms indicate that defendants can be located at the alternate address provided by plaintiff.

  However, the United States Marshal will serve defendants only at the address listed in the “SERVE

  AT” portion of the USM-285 form. Plaintiff must re-submit three USM-285 forms providing the

  correct address in the “SERVE AT” portion of the form for each named defendant, and the Court
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  will direct the Court Clerk to send the necessary forms to plaintiff for his use in obtaining service

  of process on defendants. Plaintiff is advised to promptly return the forms because the failure to

  timely serve defendants could result in the dismissal of his claims.

         IT IS THEREFORE ORDERED that plaintiff shall resubmit completed USM-285 forms

  and summonses for each named defendant listed in the complaint, and he is advised that his deadline

  to serve defendants is August 19, 2019.

         IT IS FURTHER ORDERED that the Court Clerk shall send plaintiff three blank

  summonses and three blank USM-285 forms for plaintiff’s use in serving defendants. Plaintiff’s

  address is set forth in the complaint (Dkt. # 1).

         DATED this 22nd day of July, 2019.




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